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10 Attorneys for Plaintiffs

11                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
12

13   The BURNING MAN PROJECT, FRIENDS OF
     BLACK ROCK/HIGH ROCK, INC., FRIENDS                  Case No.: 3:23-cv-00013-LRH-CSD
14   OF NEVADA WILDERNESS, DAVID
     JAMIESON, and ANDY MOORE, as individuals,
15                                                        STIPULATION AND PROPOSED
                    Plaintiffs,                           ORDER TO EXTEND DEADLINES IN
16                                                        JUNE 5, 2023 ORDER APPROVING
             v.                                           JOINT CASE MANAGEMENT
17                                                        REPORT AND BRIEFING PLAN
     The UNITED STATES DEPARTMENT OF THE
18   INTERIOR, BUREAU OF LAND                         (FIRST REQUEST)
     MANAGEMENT, BLACK ROCK FIELD
19   OFFICE, MARK HALL, in his official capacity as
     Field Manager of the Black Rock Field Office of
20   the Bureau of Land Management, and DEBRA
     HAALAND in her official capacity as Secretary of
21   the Interior,

22                  Defendants.

23

24         Plaintiffs and Defendants hereby stipulate and request the Court approve an extension of the
25 deadlines, as set forth below, for the Production of the Administrative Record and Briefing on the

26 Merits set forth in Paragraph 8 B through E of the Parties’ Joint Case Management Report and

27 Briefing Plan (“JCMR”). This is the first motion to extend time under the JCMR.

28         To that end, Plaintiffs and Defendants request that the deadlines within Paragraph 8 of the

                                                    1
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 1 JCMR be revised as follows:

 2     B. Plaintiffs will notify Federal Defendants of any alleged deficiencies or other disputes
          regarding the sufficiency of the administrative record by no later than October 27, 2023.
 3
       C. Federal Defendants will provide a response to Plaintiffs regarding any administrative record
 4
          issues by November 17, 2023.
 5
       D. If the parties are unable to resolve any issues related to the sufficiency of the administrative
 6        record, the following briefing schedule will apply:
 7            i.   Plaintiffs’ Motion to Supplement or Complete the Administrative Record: due by
 8                 December 1, 2023.
             ii.   Federal Defendants’ Opposition: due by December 15, 2023.
 9          iii.   Plaintiffs’ Reply: due by January 5, 2023.

10     E. Plaintiffs shall file their motion for summary judgment and brief in support of their motion
          for summary judgment, the following schedule will apply:
11
              i.   Plaintiffs’ Motion for Summary Judgment: due 60 days from the Court’s ruling on
12
                   Plaintiffs’ Motion to Supplement or Complete the Administrative Record or, if no
13                 such motion is filed, by December 15, 2023.

14         DATED this 12th day of October, 2023.

15 Respectfully submitted,

16   KEMP JONES, LLP

17    /s/ Christopher W. Mixson                           /s/ Christopher C. Hair
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25

26         IT IS SO ORDERED.
27
     DATED:
28                                               UNITED STATES MAGISTRATE JUDGE

                                                     2
